Case 22-58535-pmb        Doc 45   Filed 10/24/22 Entered 10/24/22 15:20:31      Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                           |
                                                 |
MARGARET QUINONES,                               |      CHAPTER 13
                                                 |
         DEBTOR                                  |      CASE NO. 22-58535-PMB
                                                 |

         FIRST REQUEST TO CONVERT FROM CHAPTER 13 TO CHAPTER 7

         COMES NOW Debtor, Margaret Quinones, by and through counsel, and respectfully

requests that this Chapter 13 case be converted to a case under Chapter 7.


         This October 24, 2022
                                                 Respectfully Submitted,
                                                 JEFF FIELD & ASSOCIATES

                                                /s/ Christopher J. Sleeper
                                                 ____________________________________
                                                 CHRISTOPHER J. SLEEPER
                                                 Attorney for Debtor
                                                 State Bar No. 700884
                                                 342 North Clarendon Avenue
                                                 Scottdale, GA 30079
                                                 404-499- 2700
                                                 contactus@fieldlawoffice.com
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                            |
                                                  |
MARGARET QUINONES,                                |      CHAPTER 13
                                                  |      CASE NO. 22-58535-PMB
         DEBTOR                                   |

                                 CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a true and exact copy of the foregoing “First

Request to Convert from Chapter 13 to Chapter 7” to the following:

Melissa J. Davey, Chapter 13 Trustee              Electronically

Margaret Quinones
342 N. Clarendon Ave
Scottdale, GA 30079

by electronic service upon filing with the Court or by placing a copy of same in a properly

addressed envelope with sufficient postage affixed thereon to insure delivery and depositing same

in the United States Mail.

         Dated: October 24, 2022                  Respectfully Submitted,
                                                  JEFF FIELD & ASSOCIATES

                                                 /s/ Christopher J. Sleeper
                                                  ____________________________________
                                                  CHRISTOPHER J. SLEEPER
                                                  Attorney for Debtor
                                                  State Bar No. 700884
342 North Clarendon Avenue
Scottdale, GA 30079
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